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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA ex rel.
 ELLSWORTH ASSOCIATES, LLP,

                        Plaintiff-Relator,           Case No.: 2:19-cv-02553-JMY

        v.

 CVS HEALTH CORPORATION, et al.,

                        Defendants.


                                      [PROPOSED] ORDER

       AND NOW, upon consideration of the Defendants’ Motion to Amend the Court’s Order

Unsealing the Second Amended Complaint, and the parties’ arguments related to the motion, it is

hereby ORDERED that Defendants’ Motion is GRANTED.

       Relator shall serve an unredacted copy of the Second Amended Complaint on Defendants

within 24 hours. Relator shall maintain redactions to the Second Amended Complaint only to

protect the privacy of enrollees in Medicare Part D prescription drug plans offered by SilverScript.

Such redactions shall apply only to the copy of the Second Amended Complaint that appears on

the docket. Defendants shall provide Relator with an accounting of their reasonable fees and costs

incurred in connection with their motion, and Relator shall pay those fees and costs within seven

calendar days of receiving the accounting.

       IT IS SO ORDERED.



Dated: ____________________                      _____________________________________
                                                 John M. Younge
                                                 UNITED STATES DISTRICT JUDGE




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